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Sheet 1 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)



                                       United States District Court
                                                            District of Maryland
             UNITED STATES OF AMERICA                                          JUDGMENT        IN A CRIMINAL          CASE
                                                                               (For Offenses Committed on or After November I, 1987)
                                     v.
                                                                               Case Number: TMD-8-13-PO-I0897-001
                    SAMUEL H. SWEELEY
                                                                               USM Number: N/ A
                                                                               Defendant's Attorney: MELISSA M. MOORE
                                                                               Assistant U.S. Attorney: HOLLIS WEISMAN


THE DEFENDANT:
I2$J pleaded guilty to counts 2&4
D pleaded nolo contendere to count(s) __     , which was accepted by the court.
D was found guilty on count(s) __     after a plea of not guilty.

                                                                                                         Date                      Count
           Title & Section                                   Nature of Offense                    Offense Concluded               Numbers
       36 CFR 4.23 (a) (1)                        Driving Under the Influence of                     09/27/2013                        2
                                                             Alcohol
       36 CFR 4.21 (c)                                  Speeding 103/55                              09/27/2013                        4

    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through   5     of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 125 S. Ct. 738 (2005).

o The defendant has been found not guilty on count(s) __
I2$J   Counts     1&3             are dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                            _FILED           _ENTERED
                                                                                March 24, 2014
                            _LOGGED          _RECEIVED                         Date of Imposition of Judgment

                                  APR       2 2014


                        ~        ~~
                                     AT GREENBELT
                               CLERK, U.S. DISTRICT COURT

                                                                                 ~ lllllLr- -3/?J/N
                                                                               Thomas M. DiGirolamo                   Date
                                                                               United States Magistrate Judge



Name of Court Reporter:        FTR
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Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                               Judgment Page 2 of 6

DEFENDANT:          SAMUEL H. SWEELEY                                                             CASE NUMBER: TMD-8-13-PO-I0897-001



                                                                IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 4     days as to count 4.

IZI The court makes the following recommendations to the Bureau of Prisons:
            The defendant shall report on 04/25/2014 and is to be released on 04/28/2014


D The defendant is remanded to the custody of the United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

     D at __      a.m.lp.m. on __    '
     D as notified by the United States Marshal.

D The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     D before 2 p.m. on __                  '

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                        RETURN

I have executed this judgment as follows:

     Defendant delivered on __                    to __        at __           , with a certified copy of this judgment.




                                                                           UNITED STATES MARSHAL


                                                                           By:
                                                                           DEPUTY U.S. MARSHAL
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Sheet 2 - Judgment in a Criminal Case with Probation (Rev. 11/2011)                                                Judgment Page 3 of 6

DEFENDANT:          SAMUEL H. SWEELEY                                                 CASE NUMBER: TMD-8-13-PO-10897-001


                                                                      PROBATION
     The defendant is hereby placed on probation for a term of                twelve (12) months         as to count 2.

A.      The defendant          shall comply with all of the following conditions:

1) The defendant shall not commit any federal, state or local crime.
2) In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 U.S.c. S921.
3) The defendant shall not illegally use or possess a controlled substance.
4) The defendant shall submit to one drug test within 15 days of placement on probation and at least two
   periodic drug tests thereafter, as directed by the probation officer.
o  The above drug testing condition is suspended based on the court's determination that the defendant poses a
   low risk of future substance abuse. (Check, if applicable.)
5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of
   2004, if applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau
   of Prisons, or as directed by the probation officer.
6) If this judgment imposes any criminal or monetary penalty, including special assessment, fine, or restitution,
   it shall be a condition of probation that the defendant pay any such criminal monetary penalty in accordance
   with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment. The
   defendant shall notify the court of any material change in the defendant's economic circumstances that
   might affect the defendant's ability to pay restitution, fines, or special assessments.




                                B.        STANDARD CONDITIONS OF SUPERVISION
1)  The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)  The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)  The defendant shall support his or her dependents and meet other family responsibilities;
5)  The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
    acceptable reasons;
6) The defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) The defendant shall refrain from excessive use of alcohol;
8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
    convicted of a felony unless granted permission to do so by the probation officer;
10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view of the probation officer;
11) The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12) The defendant shall notify the probation officer within 72 hours of being charged with any offense, including a traffic offense;
13) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
    permission of the court;
14) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.
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Sheet 5, Part A - Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                              Judgment Page 4 of 5

DEFENDANT: SAMUEL H. SWEELEY                                                                        CASE NUMBER: TMD-8-13-PO-I0897-001


                                            CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                        Fine                                  Restitution
 TOTALS              $ 20.00                                             $ 215.00                            $
 ~       CVB Processing Fee $50.00



  o      The determination of restitution is deferred until Click here to .:ntcr a dat.:.. An Amended Judgment in a Criminal Case (AO 245C)
                                                                                           will be entered after such determination.

  o      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U .S.C. 9 3664(i), all nonfederal
       victims must be paid before the United States is paid.
         Name of Payee                          Total Loss*                            Restitution Ordered               Priority or Percentage
                                                                     o                                       o




 TOTALS                                 $                            o           $                           o

  o     Restitution amount ordered pursuant to plea agreement

  o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

  o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        o the interest requirement is waived for the 0 fine o restitution
        o the interest requirement for the 0 fine 0 restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters I09A, 110, IIOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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Sheet 6 - Judgment in a Criminal Case with Supervised Release (Rev. 11120II)                                                   Judgment Page 5 of 5

DEFENDANT: SAMUEL H. SWEELEY                                                                    CASE NUMBER: TMD-8-13-PO-10897-001


                                                      SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      0 In full immediately; or

B      D $            immediately, balance due (in accordance with C, D, or E); or

C      D Not later than              ; or

D      0 Installments to commence                    day( s) after the date of this judgment.

E      D In             (e.g. equal weekly, monthly, quarterly) installments of $                 over a period of         year(s) to commence
            when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

       D in equal monthly installments during the term of supervision; or

       D on a nominal payment schedule of $                     per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

D Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




D The defendant shall pay the cost of prosecution.

D The defendant shall pay the following court cost(s):

D The defendant shall forfeit the defendant's interest in the following property to the United States:
